                IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

United States of America                    )
                                            )
      v.                                    )      1:21mj103
                                            )
Charles Donohoe                             )      FILED UNDER SEAL

     MEMORANDUM IN SUPPORT OF PRE-TRIAL DETENTION

      NOW COMES the United States of America, by and through its attorney,

Sandra J. Hairston, Acting United States Attorney for the Middle District of

North Carolina, and submits the attached memorandum in support of pre-trial

detention in the above-captioned case.          The defendant made his initial

appearance before this Court on March 17, 2021. The government moved for

detention at that time, and, in response, the Court asked the government to

file authority supporting the basis to make the motion. In short, the United

States charged the defendant with a violation of Title 18, United States Code,

Section 1361 – destruction of government property. That offense serves as a

basis to bring the motion as both as an offense listed under Title 18, United

States Code, Section 2332b(g)(5)(B) as well as a crime of violence under the

Bail Reform Act. See 18 U.S.C. § 3142(f)(1)(A). In any event, the defendant’s

conduct shows he is a serious risk to obstruct justice, and therefore, a motion




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for detention is appropriate. See 18 U.S.C. § 3142(f)(2)(B). The government

asks the Court to proceed with a detention hearing.

                         PROCEDURAL HISTORY

      On March 10, 2021, a grand jury sitting in the District of Columbia

charged Charles Donohoe and three others in a six-count indictment.

Specifically, in Count One, the indictment charges Donohoe with a violation of

Title 18, United States Code, Section 371; in Count Two with a violation of

Title 18, United States Code, Sections 1512(c)(2) and 2; in Count Three with a

violation of Title 18, United States Code, Sections 231(a)(3) and 2; in Count

Four with a violation of Title 18, United States Code, Sections 13611 and 2; in

Count Five with a violation of Title 18, United States Code, Section 1752(a)(1);

and in Count Six, with a violation of Title 18, United States Code, Section

1752(a)(2).




1 Section 1361 contains both misdemeanor and felony penalty provisions.
When “the damage or attempted damage to such property exceeds the sum of
$1,000,” then the statute provides for “imprisonment for not more than ten
years.” 18 U.S.C. § 1361. If the damage is $1,000, the term of imprisonment is
limited to “not more than one year.” Id. The grand jury alleged, among other
things, that Donohoe “willfully injure[d] and commit[ed] depredation against
the property of the United States” in that Donohoe “aided and abetted others
known and unknown to forcibly enter the Capitol and thereby caused damage
to the building in an amount more than $1,000.” Superseding Indictment
(D.D.C. No. 21-CR-175-4 (Jan. 8, 2021)) at ¶ 74. As a result, he faces
imprisonment on that charge, Count Four, of ten years.
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      The defendant was arrested on March 17, 2021, in the Middle District of

North Carolina. He made his initial appearance in this district later that day.

The government moved for detention, and the Court continued that hearing

until March 24, 2021. During the initial appearance, the Court asked the

government to provide supplemental authority as to the basis for the motion

for detention.

                           FACTUAL SUMMARY

      The government incorporates by reference the facts as alleged in the

superseding indictment.2 See D.D.C. No. 21-CR-175-4 (Mar. 10, 2021).

                                ARGUMENT

      The government’s motion for detention is properly before the Court.

First, the offense charged in Count Four is enumerated under Title 18, United

States Code, Section 2332b(g)(5)(B). In light of the applicable penalties, Count

Four allows the government to move for detention.            See 18 U.S.C. §

3142(f)(1)(A). Second, the offense charged in Count Four is a crime of violence

under the Bail Reform Act, subjecting the defendant to a motion for detention.

See id. Third, the defendant’s conduct, as alleged in Count One and Count

Two, demonstrates that the defendant poses a serious risk of obstructing


2Because that superseding indictment remains under seal and the government
refers to it at numerous times in this memorandum, the government has filed
this memorandum under seal, as well.
                                      -3-


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justice if he were to be released. That conduct allows the government to move

for detention. See 18 U.S.C. § 3142(f)(2)(B). To be sure, the Court need only

agree with the government on one of the three bases for the motion. If the

Court does, a detention hearing is in order.

      1.       Count Four creates a rebuttable presumption of detention.

      The Bail Reform Act allows the government to move for detention when

the case involves “an offense listed under Title 18, United States Code, Section

2332b(g)(5)(B)” or “a crime of violence.” 18 U.S.C. § 3142(f)(1)(A). Indeed, in

either case, the statute creates a rebuttable presumption in favor of detention.

Id.

               a.   An offense listed under § 2332b(g)(5)(B).

      The Bail Reform Act allows for a motion for detention when there is

probable cause to believe a defendant committed an offense listed in Title 18,

United States Code, Section 2332b(g)(5)(B) for which a maximum term of

imprisonment of ten years or more is prescribed. See 18 U.S.C. § 3142(f)(1)(A).

In that scenario, the law provides a rebuttable presumption in favor of

detention. See 18 U.S.C. § 3142(e)(3)(C).

      Count Four charges the defendant with destruction of government

property and aiding and abetting the same. The indictment further states that

the damage to property at the Capitol was in an amount greater than $1,000.


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Pursuant to Title 18, United States Code, Section 1361, when damage to

government property exceeds $1,000, the penalty includes imprisonment of not

more than ten years.

      Section 2332b(g)(5)(B) enumerates § 1361 as a listed offense. Here, the

defendant could receive a ten-year term of imprisonment for that count.

Accordingly, a motion for detention is proper, and the defendant faces a

rebuttable presumption that he should be detained.3

            b.    A crime of violence under the Bail Reform Act.

      Under the Bail Reform Act, a crime of violence is, in relevant part, “an

offense that has an element of the offense the use, attempted use, or threatened

use of physical force against the person or property of another.” 18 U.S.C. §

3156(a)(4)(A). A defendant may commit or aid and abet the commission of a

crime of violence. See, e.g., United States v. Richardson, 948 F.3d 733, 741-42

(6th Cir. 2020) (finding “no distinction” between aiding and abetting and

committing the substantive crime, and concluding that a defendant’s

conviction for aiding and abetting Hobbs Act robbery “satisfies the elements

clause”); Steiner v. United States, 940 F.3d 1282, 1293 (11th Cir. 2019).


3 Numerous cases from the district where these charges are pending against
Donohoe have held the same. See, e.g., United States v. Powell, Case No. 21-
mj-197 (D.D.C. Feb. 11, 2021); see also United States v. Watkins, Case No. 21-
cr-28-3 (D.D.C. Feb. 26, 2021); United States v. Bisgnano, Case No. 21-CR-36
(D.D.C. Feb. 26, 2021).
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      A defendant violates § 1361 if he “commits any depredation against any

property of the United States.” Historically, “depredation” is “the act or an

instance of robbing, plundering, or laying waste.” United States v. Jenkins,

554 F.2d 783, 8786 (6th Cir. 1977). The Sixth Circuit adapted its definition

from Deal v. United States, 274 U.S. 277 (1927), which interpreted the meaning

of the word in a post-office regulation. In doing so, the Supreme Court defined

“depredation” to mean “the act of plundering; a robbing; a pillaging.” Id. at

283 (quoting Century Dictionary). Plundering, robbing, or pillaging – that is,

in a word, depredation – necessarily involves a defendant’s use of force. See

United States v. Shi, 525 F.3d 709, 721 (9th Cir. 2008) (discussing piracy under

18 U.S.C. § 2280 by reference to United States v. Smith, 18 U.S. (5 Wheat.)

153, 161 (1820), which defined piracy as “robbery, or forcible depredations upon

the sea”); see also United States v. Dire, 680 F. 3d 446, 452-59 (4th Cir. 2012)

(discussing the history of piracy-as-depredation).

      The government maintains that a violation of § 1361 is a crime of

violence for the purposes of detention but acknowledges that the Fourth Circuit

has granted a certificate of appealability on a related question. See United

States v. Melaku, 799 F. App’x 203 (4th Cir. 2020) (unpublished) (allowing

review of whether § 1361 is a “crime of violence” predicate supporting a




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conviction under 18 U.S.C. § 924(c)). To be sure, in the case at bar, the Court

need not reach this question if it finds another viable basis for the motion.

      2.       The defendant’s obstructionist conduct necessitates a
               detention hearing.

      Where a defendant poses “a serious risk that [he] will obstruct or attempt

to obstruct justice,” the Court should conduct a detention hearing upon the

government’s motion.       18 U.S.C. § 3142(f)(2)(B).   Here, as alleged in the

indictment, Donohoe instructed his co-conspirators to communicate by means

of encrypted messaging to avoid law enforcement two days before the attack

on the Capital. See Superseding Indictment at ¶ 39. He also destroyed prior

communications for the same purpose. Id. Donohoe engaged in that conduct

explicitly out of fear that he might be charged criminally. Id. at ¶ 40.

      Despite the fear that he might be charged, the defendant nevertheless

participated in the attack on the Capital on January 6, 2021. That conduct

was, in its own right, obstructionist in nature – the defendant and others

overran the United States Capital in an attempt to interfere with the election

of a new president. After the fact, the defendant celebrated “[w]e stormed the

capitol unarmed [….] And we took it over unarmed.” Id. at ¶ 24.

      The defendant’s conduct demonstrates he poses a serious risk to obstruct

or attempt to obstruct justice. See United States v. Chrestman, ___F. Supp.

3d___, No. 21-MJ-218, 2021 WL 765662, at *15 (D.D.C., Feb. 26, 2021)

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(agreeing with a detention order where defendant participated in the January

6, 2021, attack on the Capital and where the government moved for detention,

in part, pursuant to §3142(f)(2)(B)). As such, the Court should conduct a

detention hearing.




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                               CONCLUSION

      For the reasons stated above, the government moves the Court to hold

a detention hearing in this matter.4

      This the 19th day of March, 2021.

                                       Respectfully submitted,

                                       SANDRA J. HAIRSTON
                                       ACTING UNITED STATES ATTORNEY

                                       S/ STEPHEN T. INMAN
                                       Deputy Chief, Criminal Division
                                       Assistant United States Attorney
                                       NCSB No. 26913

                                       S/ TANNER L. KROEGER
                                       Assistant United States Attorney
                                       NYSB No. 5297015
                                       United States Attorney's Office
                                       Middle District of North Carolina
                                       101 S. Edgeworth St., 4th Floor
                                       Greensboro, NC 27401
                                       Phone: 336/333-5351




4 The government understood the Court’s request for briefing at this juncture
to be a request for the legal basis supporting a motion by the government for
detention. As to the substance of that motion—i.e., whether the Court should
grant it—the government will further supplement this briefing at a later date
as necessary to provide the Court with argument on the factors listed in
§ 3142(g).
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                       CERTIFICATE OF SERVICE

     I hereby certify that on March 19, 2021, the foregoing was electronically

filed under seal with the Clerk of the Court using the CM/ECF system, and

served via that system on the following CM/ECF participants:

     Lisa Costner, Esq.

                                   Respectfully submitted,

                                   S/ TANNER L. KROEGER
                                   Assistant United States Attorney
                                   NYSB No. 5297015
                                   United States Attorney's Office
                                   Middle District of North Carolina
                                   101 S. Edgeworth St., 4th Floor
                                   Greensboro, NC 27401
                                   Phone: 336/333-5351




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